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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

                            * * * * * * * * * * * * * * * * * *

United States of America,

                              Plaintiff,
                                                           ORDER ADOPTING
       vs.                                           REPORT AND RECOMMENDATION

Martin Vega Hernandez a/k/a
Emanuel, and Michael Eugene
Seebeck,

                              Defendants.     Crim. 06-379 (02)(10)(MJD/RLE)

                            * * * * * * * * * * * * * * * * * *

       Based upon the Report and Recommendation of United States Magistrate Judge Raymond L.

Erickson, and after an independent review of the files, records and proceedings in the above-titled

matter, IT IS ORDERED:

       1.      That the Motion of the Defendant Martin Vega Hernandez to Suppress Eyewitness

Identification [Docket No. 234] is denied.

       2.      That the informal Motion of the Defendant Michael Eugene Seebeck to Suppress

Statements is denied.

       3.      That the informal Motion of the Defendant Michael Eugene Seebeck to Suppress

Evidence Obtained by Search and Seizure is denied.
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        4.      That the Government’s informal Motion to allow the admission of the pre-Miranda

statement by the Defendant Michael Eugene Seebeck, during his interview of February 8, 2007, is

granted for the limited purpose of impeaching that Defendant, in the event that Seebeck testifies at

the time of Trial.



DATED: August 3, 2007                                s / Michael J. Davis
At Minneapolis, Minnesota                            Michael J. Davis, Judge
                                                     United States District Court
